AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 USC. § 2241

UNITED STATES DISTRICT COURT FILE

UNITED STATES DISTRICT COURT

 

 

for the DENVER, COLORADO
District of Colorado
FEB 26 2019 .
BY: JULIE KAYE EMBRY .
IN BEHALF OF: BRUCE ALLEN DOUCETTE JEFFREY P. COLWELL
IDENTIFICATION # 0000864076 )
Petitioner
v. Case No.
BARRY GOODRICH, WARDEN OF CROWLEY ) (Supplied by Clerk of Court)

COUNTY CORRECTIONAL FACILITY, OLNEY )
SPRINGS, COLORADO )

 

Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
Personal Information

1. (a) Your full name: BRUCE ALLEN DOUCETTE

 

(b) Other names you have used:

 

2. Place of confinement:
we CROWLEY COUNTY CORRECTIONAL FACILITY
(a) Name of institution:

(b) Address: 6564 HIGHWAY 96
OLNEY SPRINGS, COLORADO 81062
(c) Your identification number: 0000864076

3. Are you currently being held on orders by:

(Federal authorities C1 State authorities Other - explain:
MICHAEL J. SPEAR, DISTRICT JUDGE

 

 

 

 

4. Are you currently:
OA pretrial detainee (waiting for trial on criminal charges)
7 Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime

If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you: LINDSEY-FLANAGAN COURTHOUSE

520 WEST COLFAX AVENUE, DENVER, COLORADO
(b) Docket number of criminal case: SEE EVIDENCE ATTACHED
(c) Date of sentencing: UNKNOWN

OBeing held on an immigration charge

OoOther (explain):

 

 

 

 

 

 

Decision or Action You Are Challenging

5. What are you challenging in this petition:
(How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

Page 2 of 9
AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 USC § 2241

 

(Pretrial detention

OImmigration detention

1 Detainer

OThe validity of your conviction or sentence.as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

ODisciplinary proceedings
PMOther explain, | CONSTITUTIONAL VIOLATION OF DENYING "ASSISTANCE OF COUNSEL"

 

 

 

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court:

 

 

(b) Docket number, case number, or opinion number:

 

(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):

 

 

 

(d) Date of the decision or action:

 

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
MYes OINo

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court; COLORADO JUDICIAL COMMISSION FOR DISCIPLINE

 

 

(2) Date of filing: FEBRUARY 18, 2018
(3) Docket number, case number, or opinion number: © UNKNOWN
(4) Result: UNKNOWN

(5) Date of result: PENDING
(6) Issues raised: ASSERTION OF CONSTITUTIONAL RIGHT TO ASSISTANCE OF COUNSEL;

MOTION FOR COUNSEL UNCONSTITUTIONALLY DENIED BY MICHAEL J. SPEAR, DISTRICT
JUDGE

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not appeal: BECAUSE THERE IS NO ASSISTANCE OF
COUNSEL TO FILE AN APPEAL AS WELL AS BY THE TIME IT WAS DISCOVERED THE SUPREME COURT

CASES IN MEMORANDUM THE TIME TO FILE APPEAL HAS PASSED.

 

 

 

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
OYes ONo

Page 3 of 9
AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 USC. § 2241

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a second appeal:

 

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
TWYes No

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6). Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a third appeal:

 

 

 

10. Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

Yes WNo

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes WNo

Page 4 of 9
AO 242 (Rev 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S C. § 2241

If “Yes,” provide:
(1) Name of court:
(2) Case number:
(3) Date of filing:
(4) Result:

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

Yes No
If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence:

 

 

 

NOT IN FEDERAL CUSTODY

 

 

 

 

11. Appeals of immigration proceedings
Does this case concern immigration proceedings?
Yes WINo
If “Yes,” provide:
(a) Date you were taken into immigration custody:

 

(b) Date of the removal or reinstatement order:

 

(c) Did you file an appeal with the Board of Immigration Appeals?
Yes No

Page 5 of 9
AO 242 (Rev 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C § 2241

If “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:
(5) Issues raised:

 

 

 

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
Yes ANo
If “Yes,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

12. Other appeals \
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes M1No
If “Yes,” provide:
(a) Kind of petition, motion, or application:

 

(b) Name of the authority, agency, or court:

 

 

(c) Date of filing:

(d) Docket number, case number, or opinion number:
(e) Result:

(f) Date of result:

(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

Page 6 of 9
AO 242 (Rev 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S C § 2241

 

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: CONSTITUTIONAL VIOLATIONS BY THE STATE COURT AND JUDGE DENYING

 

"ASSISTANCE OF COUNSEL", A RIGHT GUARANTEED BY THE UNITED STATES OF AMERICA

 

CONSTITUTION AND THE COLORADO CONSTITUTION AS WELL AS TREATIES REGARDING
INTERNATIONAL LAW

 

 

(a) Supporting facts (Be brief Do not cite cases or law.): AU Ti ‘ .
PAGE ONE OF CERTIFIED COPY OF INDICTMENT (SEE ATTACHED) D Ppt Meanvandiun

 

MOTION FOR ADVISORY COUNSEL TO BE APPOINTED (SEE ATTACHED)

 

ORDER DENYING MOTION FOR ADVISORY COUNSEL (SEE ATTACHED)
(PETITIONER DOES NOT HAVE A COPY OF SENTENCING STATEMENT FOR DATE OF SENTENCE)
SUPPORTING MEMORANDUM WITH SUPREME COURT DECISIONS (SEE ATTACHED)

(b) Did you present Ground One in all appeals that were available to you?
Yes CINo

 

 

 

GROUND TWO:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

 

(b) Did you present Ground Two in all appeals that were available to you?
Yes ONo ,

GROUND THREE:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law ):

 

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
Yes CINo

Page 7 of 9
AO 242 (Rev 09/17) Petition for a Writ of Habeas Corpus Under 28 U SC. § 2241

GROUND FOUR:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.).

 

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?
(Yes OWNo

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did

not:

 

 

 

 

Request for Relief

15. State exactly what you want the court to do: FORTHWITH AWARD THE WRIT OR ISSUE AN ORDER DIRECTING
THE RESPONDENT TO SHOW CAUSE , WITHIN THREE DAYS, WHY THE WRIT SHOULD NOT BE GRANTED -

SET A HEARING WITHIN 5 DAYS OF RESPONDENT'S RETURN - SUMMARILY HEAR AND DETERMINE THE
FACTS, AND DISPOSE OF THE MATTER AS LAW AND JUSTICE REQUIRE IN ACCORDANCE WITH TITLE

28 USC 2243: SEE MEMORANDUM ATTACHED AND CERTIFIED COPIES OF COURT DOCUMENTS. THANK YOU!

Page 8 of 9
AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U S.C § 2241

 

Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:
FORM FILLED OUT "IN BEHALF OF" BRUCE DOUCETTE, WITH TRUTH AS TO THE BEST OF KNOWLEDGE

 

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date; FEBRUARY 19,20164 By: Gab behairofB bra f. fe Shugo JouW9.

We Signature of Petitioner A5)3 DPW 00€e yy
COMM VIL Taha Tipp34

 

 

Signature of Attorney ¥r other authorised person, if any

|

Page 9 of 9
  

_ . ee, — - . . TRACKED"
PRIORITY .- Rane
*MAIL*& *

  

FLAT RATE ENVELOPE

“ONE RATE * ANY WEIGHT”

a UNITED STATES

ps00001000014 _ oD sxos B POSTAL’SERVICE.~
eee ae ie em ,

 

 

 

 
 
  

PRIORITY’
* MAIL *

DATE OF DELIVERY SPECIFIED*
USPS TRACKING™ INCLUDED*
INSURANCE INCLUDED *

PICKUP AVAILABLE

* Domestic only

hea

WHEN USED INTERNATIONALLY,
A CUSTOMS DECLARATION
LABEL MAY BE REQUIRED.

‘UIEBR - B[2AD a BSeajq “9]ISEM JOUINSUOD-js0d WO spEUl S| BdOJ@AUS SUL é 3
a

UNITED STATES
Ba POSTAL SERVICE»

USPS TRACKING #

i | 214F July 2013
911 ‘

4 9011 8986 6502 6259 88 D:12.5 x 9.5

LABAOOR Aug. 2013
7890-17-000-0600

 

‘emelyn
451% ppecimnoce Lame
CONeMVLIte Teens Tos

TO: ,
Coe (fare ) (etm wos)
MMi? A. Arto, WS. Dir COLAC
AN iGTA Seer
| Dewar Co Baa. 350A

 

 

7

VISIT US AT USPS.COM® Bey ep suas.

ORDER FREE SUPPLIES ONLINE

t

I
|
|
I

This packaging Is the property of the U.S. Postal Service® and Is Provided solely for use in sending Priority Mali® shipments. Misuse may bea

violation of federal law. This packaging Is not for resale. EP14F © U.S. Pastal Service; July 2013; All rights reserved.

 

 
